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                                 No. 23-12958


            IN THE UNITED STATES COURT OF APPEALS
                  FOR THE ELEVENTH CIRCUIT



                               State of Georgia,
                                            Plaintiff-Appellee,
                                       v.


                              Mark R. Meadows,
                                            Defendant-Appellant.


   From the United States District Court for the Northern District of Georgia
                  The Honorable Steve C. Jones, Presiding
                           No. 1:23-CV-3621-SCJ


  Emergency Motion for Stay Pending Appeal and for Expedited Review

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                  CERTIFICATE OF INTERESTED PERSONS
                 AND CORPORATE DISCLOSURE STATEMENT

           To the best of Appellant’s knowledge, no associations of persons,

partnerships, or corporations have an interest in the outcome of this case or appeal,

including subsidiaries, conglomerates, affiliates, parent corporations, any publicly

held corporation that owns 10% or more of the party’s stock; the following is a list,

in alphabetical order, of all trial judges, attorneys, law firms, and persons with such

an interest *:

     1.      Alksne, Cynthia, amicus below

     2.      Anulewicz, Christopher Scott, attorney for Robert David Cheeley

     3.      Arora, Manubir, attorney for Kenneth John Chesebro

     4.      Aul, Francis, attorney for Mark R. Meadows

     5.      Ayer, Donald B., amicus below

     6.      Barron, Lynsey M., attorney for Scott Graham Hall

     7.      Beckermann, Wayne R., attorney for Robert David Cheeley

     8.      Bever, Thomas Dean, attorney for Shawn Micah Tresher Still

     9.      Bittman, Robert, attorney for Mark R. Meadows

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*
  For all parties who appeared below, Appellant has included the parties, their
attorneys, and their attorneys’ law firms. In order to facilitate this Court’s review for
potential conflicts, Appellant has also included the other named defendants in the
state proceeding and their attorneys, where available.
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  11.   Carr, Christopher M., Attorney General of the State of Georgia

  12.   Cheeley, Robert David, Defendant in Georgia v. Trump

  13.   Chemerinsky, Erwin, amicus below

  14.   Chesebro, Kenneth John, Defendant in Georgia v. Trump

  15.   Christenson, David Andrew, pro se, denied intervention below

  16.   Clark, Jeffrey Bossert, Defendant in Georgia v. Trump

  17.   Cohen, Darryl B., attorney for Trevian C. Kutti

  18.   Copeland, Amy, amicus below

  19.   Cromwell, William Grant, attorney for Cathleen Alston Latham

  20.   Cross, Anna Green, Fulton County District Attorney’s Office

  21.   Cross Kincaid LLC

  22.   Durham, James D., attorney for Mark R. Meadows in Georgia v. Trump

  23.   Eastman, John Charles, Defendant in Georgia v. Trump

  24.   Ellis, Jenna Lynn, Defendant in Georgia v. Trump

  25.   Englert, Joseph Matthew, attorney for Mark R. Meadows

  26.   Farmer, John J. Jr., amicus below

  27.   Floyd, Harrison William Prescott, Defendant in Georgia v. Trump

  28.   Floyd, John Earl, Fulton County District Attorney’s Office

  29.   Francisco, Michael Lee, attorney for Mark R. Meadows

  30.   Fried, Charles A., amicus below

  31.   Fulton County District Attorney’s Office


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  32.   Gerson, Stuart M., amicus below

  33.   Gillen, Craig A., attorney for David James Shafer

  34.   Giuliani, Rudolph William Louis, Defendant in Georgia v. Trump

  35.   Griffin Durham Tanner & Clarkson LLC

  36.   Grohovsky, Julie, amicus below

  37.   Grubman, Scott R., attorney for Kenneth John Chesebro

  38.   Hall, Scott Graham, Defendant in Georgia v. Trump

  39.   Hampton, Misty (a/k/a Emily Misty Hayes), Defendant in Georgia v.
        Trump

  40.   Harding, Todd A., attorney for Harrison William Prescott Floyd

  41.   Hogue, Franklin James, attorney for Jenna Lynn Ellis

  42.   Hogue, Laura Diane, attorney for Jenna Lynn Ellis

  43.   Jones, Steve C., U.S. District Court Judge for the Northern District of
        Georgia

  44.   Kammer, Brian S., attorney for amici below

  45.   Kelley, Emily E., attorney for Mark R. Meadows

  46.   Kutti, Trevian C., Defendant in Georgia v. Trump

  47.   Lake, Anthony C., attorney for David James Shafer

  48.   Latham, Cathleen Alston, Defendant in Georgia v. Trump

  49.   Lee, Stephen Cliffgard, Defendant in Georgia v. Trump

  50.   Little, Jennifer L., attorney for Donald J. Trump

  51.   Luttig, J. Michael, amicus below


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  52.   MacDougald, Harry W., attorney for Jeffrey Bossert Clark

  53.   McAfee, Scott, Fulton County Superior Court Judge

  54.   McFerren, William Coleman, attorney for Shawn Micah Tresher Still

  55.   McGuireWoods, LLP

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  58.   Morgan, John Thomas III, attorney for amici below

  59.   Morris, Bruce H., attorney for Ray Stallings Smith, III

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  62.   Palmer, Amanda, attorney for Ray Stallings Smith, III

  63.   Parker, Wilmer, attorney for John Charles Eastman

  64.   Pierson, Holly Anne, attorney for David James Shafer

  65.   Powell, Sidney Katherine, Defendant in Georgia v. Trump

  66.   Rafferty, Brian T., attorney for Sidney Katherine Powell

  67.   Ragas, Arnold M., attorney for Harrison William Prescott Floyd

  68.   Raul, Alan Charles, amicus below

  69.   Rice, Richard A., Jr., attorney for Robert David Cheeley

  70.   Roman, Michael A., Defendant in Georgia v. Trump

  71.   Rood, Grant H., Fulton County District Attorney’s Office

  72.   Sadow, Steven H., attorney for Donald J. Trump


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  73.   Saldana, Sarah R., amicus below

  74.   Samuel, Donald Franklin, attorney for Ray Stallings Smith, III

  75.   Shafer, David James, Defendant in Georgia v. Trump

  76.   Smith, Ray Stallings, III, Defendant in Georgia v. Trump

  77.   Still, Shawn Micah Tresher, Defendant in Georgia v. Trump

  78.   Terwilliger, George J., III, attorney for Mark R. Meadows

  79.   Trump, Donald J., Defendant in Georgia v. Trump

  80.   Twardy, Stanley A. Jr., amicus below

  81.   Volchok, Daniel, attorney for amici below

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  83.   Wade & Campbell Firm

  84.   Wakeford, Francis McDonald IV, Fulton County District Attorney’s
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  85.   Waxman, Seth P., attorney for amici below

  86.   Weld, William F., amicus below

  87.   Wertheimer, Fred, attorney for amici below

  88.   Willis, Fani T., Fulton County District Attorney’s Office

  89.   Wilmer Cutler Pickering Hale and Dorr LLP

  90.   Wooten, John William, Fulton County District Attorney’s Office

  91.   Wu, Shan, amicus below

  92.   Young, Daysha D’Anya, Fulton County District Attorney’s Office



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                BASIS FOR EMERGENCY CONSIDERATION

      Appellant seeks “emergency” consideration; his requests will be moot, in part,

if not ruled on within seven days and come within seven days of the district court’s

order. 11th Cir. Rule 27-1(b).

                                 INTRODUCTION

      The District Attorney in Fulton County, Georgia, is prosecuting the former

White House Chief of Staff, Mark R. Meadows, alleging that, during his government

service, he joined a RICO conspiracy with the President and others. The Federal

Officer Removal Statute, 28 U.S.C. § 1442, provides a right to remove such cases,

as federal officials have done for the better part of two centuries. The court below

egregiously erred in rejecting removal. Given the “quite low” bar for removal, Caver

v. Central Alabama Elec. Cooperative, 845 F.3d 1135, 1144 (11th Cir. 2017), the

clear error below, and the important federal interests at stake, this Court should stay

remand and expedite review, or enjoin prosecution pending appeal.1




1
  Earlier today, Meadows moved below for a stay of the Remand Order pending
appeal. See Motion, Dkt. No. 75. The district court directed the State to respond by
Noon tomorrow. See Order, Dkt. No. 76. Given the urgency of the requested relief,
and because this motion seeks more than just a stay, Meadows brings this motion
while the motion below is still pending. Meadows will update this Court as soon as
practicable once the district court rules on the stay motion.
                                          1
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      Meadows was indicted on Monday, August 14, 2023, and removed the next

day. See Notice of Removal, Dkt. No. 1. The district court declined summary remand

on August 16 and set an evidentiary hearing for August 28. See Order, Dkt. No. 6.

When the State refused to delay arrest, Meadows sought emergency relief, see

Motion, Dkt. No. 17, which the district court denied, see Order, Dkt. No. 25.

Meadows also moved to dismiss based on Supremacy Clause immunity, see Motion,

Dkt. No. 16, which the district court never reached. At the evidentiary hearing,

Meadows testified and presented evidence. Nearly two weeks later, on Friday,

September 8, the district court declined jurisdiction and remanded immediately. See

Order, Dkt. No. 69 (Ex. 1) (hereinafter “Remand Order”). Meadows appealed the

same day. See Notice of Appeal, Dkt. No. 71.

      The Remand Order is severely flawed. It conflicts with clear precedent setting

a “quite low” bar for removal, Caver, 845 F.3d at 1144; reflects a “narrow, grudging”

interpretation of § 1442, Willingham v. Morgan, 395 U.S. 402, 407 (1969); and

inverts “the presumption under the federal officer removal statute [which] favors

removal,” In re Asbestos Prod. Liab. Litig. (No. VI), 770 F. Supp. 2d 736, 741 (E.D.

Pa. 2011).

      Meadows will elaborate on those errors in merits briefing. But for now, he

seeks procedural relief so that removal is considered “promptly,” 28 U.S.C.

                                         2
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§ 1455(b)(4)–(5), and he does not irreparably lose protection under § 1442 and the

Supremacy Clause. See New York v. Tanella, 374 F.3d 141, 147 (2d Cir. 2004)

(Supremacy Clause provides federal officials “immunity from suit rather than a mere

shield against liability”).

       Procedural relief is needed because the State seeks to take Meadows to trial

in 42 days, with numerous pre-trial deadlines before. This Court’s prompt action

will preserve the status quo and prevent irreparable loss of Meadows’s rights. 2

Meadows asks to stay the Remand Order, which will prevent a conviction. See 28

U.S.C. § 1455(b)(3). He also requests expedited review to avoid further harm. If the

Court needs more time, it can and should enjoin the District Attorney from

prosecuting Meadows in state court pending appeal.

                                 RELIEF SOUGHT

       Meadows seeks: (1) a stay of the Remand Order, and (2) expedited review. If

the Court does not expedite, he alternatively seeks (3) an injunction against state

prosecution pending appeal. Meadows suggests the following expedited schedule:

       Opening Brief                          Friday, September 15, 2023


2
 Former officials are protected. The question is whether the defendant was a federal
official at the time of the conduct charged, not at the time of prosecution or removal,
see State of Maryland v. Soper, 270 U.S. 9, 34–35 (1926), so that prosecution does
not chill current federal officials in the exercise of their federal duties, see Denson
v. United States, 574 F.3d 1318, 1349 (11th Cir. 2009).
                                            3
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      Response Brief                          Friday, September 22, 2023

      Reply Brief                             Monday, September 25, 2023

      Oral Argument (If Held)                 Week of September 25, 2023

Counsel will present oral argument if the Court desires. Given the urgency, however,

Meadows is willing to forgo argument to facilitate a prompt ruling.

                                  JURISDICTION

      The district court had jurisdiction over this removed prosecution. 28 U.S.C.

§§ 1442 & 1455. This Court has appellate jurisdiction. Id. § 1447(d).

                               LEGAL STANDARD

      Granting a stay turns on four factors: (1) likelihood of success on the merits;

(2) irreparable injury; (3) balance of hardships; and (4) the public interest. See

Roman Cath. Diocese of Brooklyn v. Cuomo, 141 S. Ct. 63, 66 (2020); Hand v. Scott,

888 F.3d 1206, 1207 (11th Cir. 2018) (same); FED. R. APP. P. 8; 11th Cir. Rule 27-

1(b)(2). The first two factors are “most critical,” Nken v. Holder, 556 U.S. 418, 434

(2009), and “[o]rdinarily the first factor is the most important,” Garcia-Mir v. Meese,

781 F.2d 1450, 1453 (11th Cir. 1986). A stay will generally be warranted (a) if the

decision below was “clearly erroneous,” or (b) if the applicant makes a “lesser

showing of a ‘substantial case on the merits’ when ‘the balance of the equities



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[identified in factors 2, 3, and 4] weighs heavily in favor of granting the stay.’” Id.

(quoting Ruiz v. Estelle, 650 F.2d 555, 565 (5th Cir. 1981) (per curiam)).3

                     REASONS FOR GRANTING RELIEF

I.    The Court Should Stay the Remand Order Pending Appeal.

      The Federal Officer Removal Statute protects against prosecution in state

court, especially where, as here, the prosecution is novel and unprecedented. This

case is not about removal for a government contractor; it involves an official at the

highest level of the Executive Branch accused of joining an alleged conspiracy with

the President. Meadows faces imminent, irreparable harm absent prompt relief.

      A.     Meadows Is Likely to Succeed on the Merits.

      Meadows far exceeded the low threshold for removal. He respectfully submits

the Remand Order is clearly erroneous, but at a minimum, he has a substantial case

on the merits. See Garcia-Mir, 781 F.2d at 1453.




3
  Appellate Rule 8(c) refers to Criminal Rule 38. This criminal prosecution has been
docketed as a civil case for the removal stage, a procedural step Criminal Rule 38
does not address. If the criminal rules control, Meadows is entitled to relief to ensure
the appeal is “disposed of as expeditiously as the fair and orderly administration of
justice may permit” and the “imposition of actual punishment be avoided pending
disposition of an appeal.” Corey v. United States, 375 U.S. 169, 172 (1963). In any
event, this Court has the flexibility to expedite and stay. See FED. R. APP. P. 2.
                                            5
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             i.     Meadows has far exceeded the low threshold for removal.

      Meadows indisputably served as a federal official so needs only to (1) “show

‘a causal connection between what [he] has done under asserted official authority

and the action against him,’” and (2) “raise a colorable federal defense,” Caver, 845

F.3d at 1142 (quoting Magnin v. Teledyne Cont’l Motors, 91 F.3d 1424, 1427 (11th

Cir. 1996)). He has made those easy showings.

      The Notice of Removal and record below clearly establish a causal connection

between the conduct charged and Meadows’s official role. His unrebutted testimony

establishes that every act charged in the Indictment 4 occurred during his tenure and

as part of his service:

      Act 5 – Oval Office Meeting with Michigan Legislators. Meadows

participated as Chief of Staff, Aug. 28 Hr’g Tr., Dkt. No. 65 (Exs. 2 & 3), at 44:6–7

(hereinafter “Tr.”), which was consistent with his responsibilities, including

managing the President’s time, Tr. 44:9–13; maintaining awareness of matters

before the President, Tr. 45:5–7; advising the President, Tr. 44:25–45:3; monitoring

post-meeting action items, Tr. 58:20–21; addressing the federal interest in fair




4
  As explained below, the district court’s holding that charged conduct could be
ignored because the State might secure a conviction without it is reversible error. See
pp.12–13 infra.
                                          6
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elections, Tr. 59:18–24; and maintaining awareness of matters that could lead to

legislation or executive orders, Tr. 62:10–16.

      Act 6 – Texting to Get a Phone Number for the President. As the district

court agreed, see Remand Order at 35, Meadows tracked down this number as Chief

of Staff, Tr. 46:24–25, consistent with his responsibilities, namely gathering

information for the President, Tr. 46:24–47:1, 47:8–10, 66:14–18.

      Act 9 – White House Meeting with Pennsylvania Legislators. Meadows “was

not actually in this meeting,” Tr. 48:11–12, but to the extent he was involved, it was

as Chief of Staff, Tr. 48:4–7. He was called down to notify visiting legislators of

positive COVID tests, Tr. 48:18–49:9, consistent with his responsibilities, namely

ensuring the President’s health and physical safety, Tr. 48:23–49:3, 74:6–11.

      Act 19 – Requesting a White House Staff Memo. Meadows “did not ask”

Johnny McEntee for this memo, Tr. 50:12; see also Tr. 50:7, 51:7–8, but to the extent

he was involved, it would have been as Chief of Staff, Tr. 49:17–19, consistent with

his responsibilities, including supervising White House staff in preparing memos

and other tasks, Tr. 49:17–19, maintaining awareness of matters before the

President, and advising the President on matters of federal law.

      Act 92 – Visiting the Cobb County Civic Center. Meadows made this visit as

Chief of Staff to inform the President, Tr. 51:20–23, 85:7–10, consistent with his

                                          7
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responsibilities, including gathering information for the President, Tr. 52:9–14,

53:4–7, 77:11–12, 77:22–24, managing the President’s ability to focus on his duties,

Tr. 81:9–15, 96:20–97:2, and maintaining knowledge about potential subjects of

proposed legislation or executive orders, Tr. 81:10–11, 81:23–82:5.

      Act 93 – Arranging a Call for the President to a State Official. Meadows

arranged this call as Chief of Staff, Tr. 53:17–21, but did not participate, Tr. 89:10–

11. He acted consistent with his responsibilities, including arranging and staffing the

President’s calls and meetings, Tr. 16:8–15, 89:7–8, and maintaining awareness of

matters before the President, Tr. 16:10–13, 19:24–20:5, 33:18–34:5.

      Act 96 – Texting a State Official About Options for Signature Verification.

Meadows did not text Ms. Watson, as charged, Tr. 54:8–10, though he had a similar

exchange with someone else, Tr. 90:14–16.5 Meadows reached out as Chief of Staff,

Tr. 54:3–4, consistent with his responsibilities, including gathering information for

the President, Tr. 92:15–17, advising the President, Tr. 92:23–93:2, and managing

the President’s time and ability to give attention to federal duties by closing out

matters of ongoing concern.


5
  Contrary to the State and district court’s characterization, the message was not a
“financial offer” but an inquiry about the ability “to speed things up,” Tr. 91:25–
92:2, based on a similar development in Wisconsin, Tr. 92:6–17. The court erred in
relying on the State’s characterization of the text exchange, see p.12–13 infra, which
the State never introduced and which it incorrectly described in the Indictment.
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      Act 112 – January 2 Call with Secretary Raffensperger. Meadows

participated as Chief of Staff, Tr. 51:4–11, 124:16–17—which is how he announced

himself—consistent with his responsibilities, including maintaining awareness of

matters before the President, Tr. 129:16–19, setting up meetings for the President,

Tr. 110:16–18, managing the President’s time, Tr. 127:23–128:12, 123:21–133:1,

149:24–150:5, 151:2–8, and addressing the federal interest in fair elections, Tr.

110:2–6. The State’s witness, Secretary Raffensperger, confirmed Meadows’s

limited role, noting that he “was acting on behalf of the President,” Tr. 219:14;

Raffensperger did not believe Meadows did anything “inappropriate,” Tr. 220:16.

      This testimony, and the declarations Meadows submitted, see Exs. 4 & 5,

readily clear the low hurdle for removal. The lenient “connection” standard derives

from the broad language of the Federal Officer Removal Statute, which covers any

prosecution “for or relating to any act” in office. 28 U.S.C. § 1442(a)(1). As this

Court has held, “[t]he phrase ‘relating to’ is broad and requires only a ‘connection’

or ‘association’ between the act in question and the federal office.” Caver, 845 F.3d

at 1144 (internal quotation omitted). Meadows has far exceeded this standard. The

State and the district court questioned whether Meadows’s conduct was actually

required or properly considered part of his official duties. See Remand Order at 27–

28. But that second-guessing, unsupported by actual evidence, does not defeat

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removal: “the state cannot overcome that defense merely by way of allegations.”

Kentucky v. Long, 837 F.2d 727, 752 (6th Cir. 1988). That is the whole point of

providing federal officials a federal forum. See Willingham, 395 U.S. at 409.

      Meadows also “raise[s] a colorable federal defense.” Caver, 845 F.3d at 1142.

This Court gives § 1442(a)(1) a “broad reading . . . to encompass all cases where

federal officers can raise a colorable defense arising out of their duty to enforce

federal law.” Id. at 1145 (cleaned up). A colorable “defense need only be plausible;

its ultimate validity is not to be determined at the time of removal.” Magnin, 91 F.3d

at 1427; see also Caver, 845 F.3d at 1145 (“The law does not require that the

removing defendant virtually win his case before it can be removed.”).

      Here again, Meadows clears the low bar. The Supremacy Clause provides

immunity from “suits under state law against federal officials carrying out their

executive duties,” Kordash v. United States, 51 F.4th 1289, 1293 (11th Cir. 2022),

including former federal officials, see Maryland v. Soper, 270 U.S. 9, 34–35 (1926).

And it is undisputed that Meadows was a federal official.

      Below, the State and district court suggest that Meadows is not entitled to

immunity based on the conduct charged and the scope of his duties. But if immunity

were in doubt (which, bluntly, it should not be), that would not preclude removal.

Even on the merits, immunity requires showing only that the “federal official’s acts

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have some nexus with furthering federal policy and can reasonably be characterized

as complying with the full range of federal law.” Kordash, 51 F.4th at 1293

(emphasis added; internal quotation omitted). The official need not prove that he

stayed within his lawful authority, only that he reasonably believed he was. 6 For

removal, “the lenient colorable federal defense requirement” focuses on the

official’s version of the case, not the State’s competing narrative. Caver, 845 F.3d

at 1145–46. The court “need not . . . determine the merits of that position” to reach

removal. Id. at 1146. Meadows has easily met this final requirement of asserting a

colorable immunity defense. See generally Motion to Dismiss, Dkt. No. 16.

             ii.    The Remand Order is clearly erroneous.

      The district court’s task was straightforward: to determine whether

Meadows’s “acts have some nexus with furthering federal policy and can reasonably

be characterized as complying with the full range of federal law,” Denson v. United

States, 574 F.3d 1318, 1348 (11th Cir. 2009), and to “credit[] [Meadows’s] theory

of the case,” Jefferson Cnty. v. Acker, 527 U.S. 423, 432 (1999). The court should

have readily permitted removal. Instead, it abandoned that framework for its own



6
  Only a clear and willful federal-law violation defeats immunity. See Baucom v.
Martin, 677 F.2d 1346, 1350 (11th Cir. 1982). The district court did not find a federal
legal violation, let alone a “willful” one. See Remand Order at 32 (“[T]he Court does
not rely on the merits of a Hatch Act violation.”).
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“novel” theory of removal which has no basis in Supreme Court or Eleventh Circuit

precedent. The following examples highlight clear grounds for reversing the

decision below.

       First, rather than applying the statutory text and settled precedent which

allow removal if any portion of the “prosecution” relates to “any act” of a federal

official, 28 U.S.C. § 1442(a); Nadler v. Mann, 951 F.2d 301, 305 n.9 (11th Cir.

1992), the district court took a “novel” approach based on the State’s charge under

the Georgia RICO Act. Remand Order at 14. The court flipped the standard on its

head, holding that the State can defeat removal if it is possible to convict without

relying on an official act, even if official acts appear on the face of the Indictment.

Id. at 17–21.

      The court effectively created a “conspiracy” exception to federal officer

removal, and that was reversible error. What controls is Meadows’s articulation of

his federal defense, not the State’s articulation of its state charges. See Kircher v.

Putnam Funds Tr., 547 U.S. 633, 644 (2006) (explaining that § 1442(a) “is an

exception to the ‘well-pleaded complaint’ rule” and allows “suits against federal

officers [to] be removed despite the nonfederal cast of the complaint”) (citations




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omitted). 7 The alleged ease with which the State can shift theories and obtain a

conviction under Georgia law is immaterial.

      Relying on Justice Scalia’s partial dissent in Acker and an out-of-circuit

environmental case involving private companies, the district court looked to the

“gravamen” or “heart” of the Indictment (whatever that may be) rather than the

Indictment itself. Remand Order at 15–16, 21. But that is not the law—certainly not

as this Court has articulated it. The Acker majority made clear that courts should

“credit the [official’s] theory of the case for purposes of both elements of the

jurisdiction inquiry.” 527 U.S. at 432; accord Caver, 845 F.3d at 1142; Denson 574

F.3d at 1348. If the “prosecution” relates to “any act,” 28 U.S.C. § 1442(a), the case

is removable. See Convent Corp. v. City of N. Little Rock, 784 F.3d 479, 483 (8th

Cir. 2015).

      Second, the court drew an untenable line between official acts and “political”

activity, which, it said, “exceeds the outer limits of the Office of the White House

Chief of Staff.” Remand Order at 27. For all but one act, the court held that Meadows

exceeded his official duties (e.g., in setting up an Oval Office meeting) because the



7
 Even after removal, “entitlement to Supremacy Clause immunity is to be
ascertained by looking only at federal law.” S. Waxman & T. Morrison, What Kind
of Immunity? Federal Officers, State Criminal Law, and the Supremacy Clause, 112
YALE L.J. 2195, 2233 (2003); see Johnson v. Maryland, 254 U.S. 51, 56–57 (1920).
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meetings and calls were “political” and thus did not “relate[] to any legitimate

purpose of the executive branch.” Id. at 37, 38, 40, 42.

      This “political” exception to removal blinks reality. The President is an

inherently “political leader[],” United States v. Nixon, 418 U.S. 683, 715 (1974),

who “occupies a unique position in the constitutional scheme,” Nixon v. Fitzgerald,

457 U.S. 731, 749 (1982). He embodies in himself one of “the two political

branches.” Zivotofsky ex rel. Zivotofsky v. Kerry, 576 U.S. 1, 14 (2015) (emphasis

added). And his engagement on political issues is part of his official role, even when

he extends beyond specifically enumerated authority. See Brief for United States as

Amicus Curiae, Blassingame v. Trump, Case Nos. 22-5069, 22-7030, 22-7031, at 11

(D.C. Cir. Mar. 2, 2023) (“[A] President acts within the scope of his office when he

urges Members of Congress to act in a particular way with respect to a given

legislative matter—even a matter, such as a congressional investigation, in which

the President has no constitutional role.”). When a President runs for reelection,

“‘because the Presidency is tied so tightly to the persona of its occupant,’ ‘the line

between official and personal’ is ‘both elusive and difficult to discern.’” Id. at 1–2

(quoting In re Lindsey, 158 F.3d 1263, 1286 (D.C. Cir. 1998) (per curiam) (Tatel, J.,

concurring in part and dissenting in part)).



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      The Chief of Staff too “play[s] a unique role in the Executive Branch,

providing the President with close and confidential advice and assistance on a daily

basis,” and “act[s] as the President’s primary information-gathering and policy

development-arm.” Office of Legal Counsel, U.S. Dep’t of Justice, Congressional

Oversight of the White House, slip op. at 9 (Jan. 8, 2021).8 Indeed, “[t]he highest and

most important duties which [the President’s] subordinates perform are those in

which they act for him . . . [when] they are exercising not their own but his

discretion. This field is a very large one. It is sometimes described as political.”

Myers v. United States, 272 U.S. 52, 132 (1926). As former White House Chief of

Staff Jack Watson succinctly put it, “[t]here is literally no way in the real world of

the White House and governing of the country and a national political campaign

involving an incumbent president where you can separate the politics from the

governing that the president and his administration are doing in Washington.” THE

NERVE CENTER: LESSONS IN GOVERNING FROM THE WHITE HOUSE CHIEFS OF STAFF

80 (Terry Sullivan ed., College Station: Texas A&M Univ. Press 2004).




8
  Available at https://www.justice.gov/d9/opinions/attachments/2021/01/16/2021-
01-08-wh-oversight.pdf.
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      The district court erred in holding that “political activity” is inherently outside

the Chief of Staff’s duties 9 and thereby creating a novel “political” exception to

federal officer removal. 10

      Third, the district court erred by imposing a heightened burden that

contradicts precedent and threatens the very principles removal vindicates.

      The court gave Meadows’s testimony “less weight” because he “was unable

to explain the limits of his authority, other than his inability to stump for the

president or work on behalf of the campaign.” Remand Order at 28. But no case



9
  While the district court did not determine that Meadows violated the Hatch Act, it
nevertheless held that the Act “provides that political activity is not included in the
outer limits of the role of the White House Chief of Staff.” Remand Order at 32. But
(1) the Act does not define a Presidential advisor’s duties, (2) Meadows has at least
a colorable claim the Hatch Act did not apply, (3) the Act has never been understood
that way, and (4) such judicial regulation of the Chief of Staff’s duties violates the
Separation of Powers. Indeed, if anything, the suggestion that Meadows violated the
Hatch Act presupposes that he acted in an official capacity; otherwise, the Hatch Act
would not apply at all.
10
   To support its novel rule, the district court asserted that “[t]he Constitution does
not provide any basis for executive branch involvement with State election and post-
election procedures” and “executive power does not extend to overseeing states’
elections.” Remand Order at 29–32. Not so. Federal law governs administration of
elections. See, e.g., Electoral Count Act, 3 U.S.C. § 5, et. seq. (1887). And the
President must take care the laws are faithfully executed and recommend legislative
amendments to Congress. Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579,
587 (1952). Secretary Raffensperger too acknowledged the role of “federal law” in
elections. Tr. 188:20–23. And it is undisputed DOJ and DHS investigated alleged
election fraud in the same period, see, e.g., Tr. 215:7–216:19, which the President
necessarily supervised.
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requires a removing defendant to identify the outer limits of his authority. To the

contrary, courts routinely reject state prosecutors’ efforts to cabin federal authority.

Meadows’s unrebutted testimony should have carried the day. See Acker, 527 U.S.

at 432 (requiring courts to “credit[] the [defendant’s] theory of the case”).

      The court also refused to credit Meadows’s testimony about the federal

interests at stake. For instance, Meadows testified that, when the President met with

Pennsylvania legislators (Act 9), his only role was to notify visitors of their positive

COVID tests to “keep the President safe and keep him a proper distance away from

– [those] individuals.” Tr. 48:4–49:9. The district court dismissed this episode as

merely “neutral.” Remand Order at 36 n.14. But that testimony establishes at least

some “nexus” between the prosecution and Meadows’s official duties. The court

similarly failed to credit Meadows’s testimony about the post-election period in

which managing the President’s time was critical to ensure continued government

function and a “peaceful transition of power.” See, e.g., Tr. 25:24–27:20, 127:23–

128:12, 149:24–150:5, 151:2–8. The court ignored this testimony while asserting

that Meadows’s conduct did not “relate[] to any legitimate purpose of the executive

branch.” Remand Order at 37–38, 40, 42.

      The district court clearly failed to follow this Court’s precedent on the low

threshold for removal and imposed a higher burden.

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      B.     Meadows will suffer irreparable injury absent a stay.

      Absent a stay, Meadows could suffer irreparable injury, including trial,

conviction, and incarceration. “An injury is irreparable if it cannot be undone

through monetary remedies.” Jones v. Governor of Fla., 950 F.3d 795, 828 (11th

Cir. 2020). The federal rights Meadows invokes here include freedom not only from

liability (i.e., conviction and incarceration) but from the burdens of a state-court

defense. See Tanella, 374 F.3d at 147.

      Irreparable harm is imminent; indeed, it has already begun. Meadows was

compelled to surrender on Wednesday, August 24, after the District Attorney refused

a modest delay of arrest pending removal. Meadows has since been compelled to

waive arraignment, to post a bond, and to begin preparing a defense for potential

state prosecution. Meadows has sought to minimize this harm by asking the state

court to sever and stay his case. The state court held a hearing last Thursday on

related issues, but to date, has not rejected the State’s aggressive timeline. (Nor has

the district court stayed the Remand Order as of this filing. See n.1 supra.)

      At a minimum, the Court should stay the Remand Order to protect Meadows

from a conviction pending appeal. Absent a stay, the State will continue seeking to

try Meadows in 42 days starting October 23, 2023. If the State gets its way,

Meadows could be forced to stand trial, be convicted, and be incarcerated, all before

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the standard timeline for a federal appeal would play out. The rights Meadows

asserts here “would be effectively nullified.” Southmark Properties v. Charles

House Corp., 742 F.2d 862, 868 (5th Cir. 1984); see also Tennessee v. Davis, 100

U.S. 257, 262–63 (1879) (Supremacy Clause protects against being brought to trial

in state court).

       As explained below, see Part III infra, Meadows should be free from state

prosecution altogether and broader relief may be appropriate. But at a minimum, the

Court should stay the Remand Order.

       C.     A stay will not substantially prejudice the State or other parties.

       A stay of the Remand Order will not prejudice the State, nor other defendants

in state court, because it would not prevent other ongoing proceedings; it would only

prevent entering a verdict against Meadows. And it will not prevent proceeding in

state court if the State wins this appeal. Whatever minimal burden the State faces

from a stay pales in comparison to the burden on Meadows. This factor thus strongly

favors a stay.

       D.     The public interest favors a stay.

       The public interest also strongly favors a stay. The very premise of Supremacy

Clause immunity and the Federal Officer Removal Statute is that it is vitally

important to the functioning of our Federal Government that federal officials be free

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from state arrest and prosecution when carrying out their duties. See Davis, 100 U.S.

at 263. For the State to seek a conviction pending appeal would give rise to the very

“chilling effect” that federal law goes out of its way to protect against. Tanella, 374

F.3d at 147; see generally In re Neagle, 135 U.S. 1 (1890).

II.   The Court Should Grant Expedited Review

      Meadows does not seek to unnecessarily delay the underlying proceedings

and respectfully submits that expedited review would best serve the interests of

“prompt” removal under 28 U.S.C. § 1442. This case was already litigated on a tight

timeline in federal court. Meadows removed within 24 hours of indictment, and the

parties conducted full briefing, an evidentiary hearing, and supplemental briefing in

about two-and-a-half weeks below.

      Subject to this Court’s preference, Meadows suggests the following schedule

for expedited review:

      Appellant’s Opening Brief                Friday, September 15, 2023

      Appellee’s Response Brief                Friday, September 22, 2023

      Appellant’s Reply Brief                  Monday, September 25, 2023

      Oral Argument (If Held)                  Week of September 25, 2023

Meadows would be pleased to present oral argument if the Court desires it. But given

the urgency of the matter and his clear entitlement to reversal under the low threshold

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for removal, he is willing to forgo oral argument to facilitate a prompt ruling.

Meadows respectfully submits that expedited review on the timeline above, or a

similar timeline of the Court’s choosing, would facility the timely resolution of

Meadows’s appeal without unduly delaying the pending proceedings.

       Alternatively, if neither the district court nor this Court stays the Remand

Order, expedited review will help to minimize the irreparable loss of Meadows’s

substantive and procedural rights while the appeal plays out.

III.   Alternatively, If the Court Needs More Time, It Should Enjoin the Fulton
       County District Attorney from Prosecuting Meadows in State Court
       Pending Appeal

       Alternatively, the Court should enjoin the District Attorney from prosecuting

Meadows in state court while this appeal is pending. That short-term relief would

prevent the irreparable loss of Meadows’s rights and facilitate this Court’s orderly

deliberation. While federal courts will not enjoin pending state proceedings lightly,

a temporary pause for Meadows would protect the important federal interests at stake

without running afoul of the Anti-Injunction Act, see 28 U.S.C. § 2283, or the

abstention doctrine articulated in Younger v. Harris, 401 U.S. 37 (1971).

       The Anti-Injunction Act does not bar such relief. See 28 U.S.C. § 2283. The

Court need not enjoin the state court directly; it can enjoin District Attorney Willis

as a party to this case. In any event, §§ 1442(a) & 1455(b) “expressly” authorize a

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halt of state proceedings. See Ackerman v. ExxonMobil Corp., 734 F.3d 237, 250

(4th Cir. 2013) (construing parallel “proceed no further” language from civil

removal statute as express authorization).

      Nor does Younger bar relief. There are strong reasons to grant relief pending

appeal, see Part I supra, including “irreparable loss” of Meadows’s rights that “is

both great and immediate,” Younger, 401 U.S. at 45, which justifies a modest stay.

Cf. Fitzgerald, 457 U.S. at 742 (denied immunity is immediately appealable because

it cannot be vindicated on a later appeal).

      The Court may enjoin parties from pursuing other litigation inconsistent with

the defendant’s right to removal. See Quackenbush v. Allstate Ins. Co., 121 F.3d

1372, 1378 (9th Cir. 1997). A litigant’s efforts to “subvert the removal statute

implicate[] the expressly authorized exception to the Anti–Injunction Act and may

warrant the granting of an anti-suit injunction.” Davis Int’l, LLC v. New Start Grp.

Corp., 367 F. App’x 334, 337 (3d Cir. 2010). Federal courts have thus enjoined

parties from pursuing litigation that “would result in unwarranted inconvenience,

expense, and vexation,” even if the court would not have any ability to control that

litigation directly. Kaepa, Inc. v. Achilles Corp., 76 F.3d 624, 627 (5th Cir. 1996).




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                                  CONCLUSION

      The Court should promptly (1) stay the Remand Order, and (2) grant

expedited review; or in the alternative, (3) enjoin the District Attorney from further

prosecuting Meadows in state court pending appeal.



Dated: September 11, 2023                     Respectfully submitted,

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                     CERTIFICATE OF COMPLIANCE

      I hereby certify that this brief complies with the type-volume limitation of

Federal Rule of Appellate Procedure 27(d) and Eleventh Circuit Rule 27-1. This

brief contains 5,195 words and uses a Times New Roman 14-point font.



Respectfully submitted this 11th day of September, 2023.

/s/ John S. Moran

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